Case 1:19-cv-22702-KMW Document 399 Entered on FLSD Docket 12/07/2022 Page 1 of 3




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


   NOAH MALGERI, KAYLYN WOLF,
   BILL WILSON, SHANNON HOOD
   and ROBERT MCKEOWN, on behalf of
   themselves and all others similarly situated,

          Plaintiffs,                                            CASE NO.: 1:19-CV-22702-KMW

   v.

   VITAMINS BECAUSE, LLC, CT HEALTH
   SOLUTIONS LLC, et. al,

         Defendants.
   ________________________________________/

               JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

          Defendant/Cross-Plaintiffs, Khakiware, Inc. and Healthy Way Rx, LLC, and Cross-

   Defendants Vitamins Because, LLC and CT Health Solutions LLC, by and through undersigned

   counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby jointly stipulate and agree to dismiss

   without prejudice all claims asserted by Cross-Plaintiffs Khakiware, Inc. and Healthy Way Rx,

   LLC in this action against Cross-Defendants Vitamins Because, LLC and CT Health Solutions

   LLC with each side to bear its own attorneys’ fees and costs.

   Dated: December 7, 2022

   /s/David S. Johnson                                           /s/ Joseph A. Sorce
   David S. Johnson      FBN 096423                              Joseph A. Sorce      FBN: 38288
   Scott W. Anderson FBN 738311                                  Joseph A. Sorce & Assocs., P.A.
   Johnson Daboll Anderson, PLLC                                 999 Ponce De Leon Blvd., Ste, 1020
   2011 W Cleveland Street, Suite F                              Coral Gables, FL 33131
   Tampa, Florida 33606                                          Tel: 305-529-8544
   Tel: (813) 377-2499                                           jsorce@flconstructionlawyer.com
   djohnson@jdalegal.com                                         Counsel for Khakiware, Inc. and
   Counsel for Vitamins Because and                              Healthy Way Rx, LLC
   CT Health Solutions, LLC

                                                     1
Case 1:19-cv-22702-KMW Document 399 Entered on FLSD Docket 12/07/2022 Page 2 of 3




                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 7th day of December, 2022 I electronically filed the

   foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of this

   filing to the following counsel of record on the attached service list.

                                                                 /s/David. S. Johnson

                                          SERVICE LIST

   Joshua H. Eggnatz                                             Brendan H. Little
   FBN: 67926                                                    Sean M. O’Brien
   EGGNATZ PASCUCCI, P.A.                                        LIPPES MATHIAS WEXLER, et al.
   7450 Griffin Road                                             50 Fountain Plaza, Suite 1700
   Suite 230                                                     Buffalo, NY 14202
   Davie, FL 33314                                               Tel: 716-853-5100
   Tel: 954-889-3359                                             blittle@lippes.com
   Fax: 954-889-5913                                             sobrien@lippes.com
   jeggnatz@justiceearned.com
   Attorneys for Plaintiffs                                      Alessandro A. Apolito
                                                                 LIPPES MATHIAS WEXLER, et al.
                                                                 822 US Highway A1A, Suite 101
   Jay I. Brody (Admitted Pro Hac Vice )                         Ponte Vedra Beach, FL 32082
   Gary S. Graifman (Admitted Pro Hac Vice)                      Tel: 904-660-0020
   KANTROWITZ, GOLDHAMER &                                       aapolito@lippes.com
   GRAIFMAN, P.C.                                                Attorneys for ASquared Brands
   747 Chestnut Ridge Road
   Chestnut Ridge, New York 10977                                Leon N. Patricios (FBN 0012777)
   Tel: 845-356-2570                                             ZIMPANO PATRICIOS, P.A.
   ggraifman@kgglaw.com                                          312 Minorca Ave.
   jbrody@kgglaw.com                                             Coral Gables, FL 33134
   Attorneys for Plaintiffs                                      Tel: 305-444-5565
                                                                 Fax: 305-444-8588
   Nicholas A. Migliaccio                                        lpatricios@zplaw.com
   Jason S. Rathod                                               jzumpano@zplaw.com
   MIGLIACCIO & RATHOD LLP
   412 H Street N.E., Ste. 302                                   Richard J. Oparil (admitted pro hac
   Washington, DC 20002                                          vice)
   Tel: 202-470-3520                                             ARNALL GOLDEN GREGORY
   nmigliaccio@classlawdc.com                                    1775 Pennsylvania Ave., NW
   Attorneys for Plaintiffs                                      Suite 1000
                                                                 Washington, DC 20006

                                                     2
Case 1:19-cv-22702-KMW Document 399 Entered on FLSD Docket 12/07/2022 Page 3 of 3




   Joseph A. Sorce                               T: 202-677-4030
   JOSEPH A. SORCE & ASSOCS., P.A.               Richard.oparil@agg.com
   999 Ponce de Leon Blvd., Suite 1020           Attorneys for GMAX Central, LLC
   Coral Gables, FL 33134
   Tel: 305-529-8544                             Mark Migdal & Hayden
   jsorce@flconstructionlawyer.com               Yaniv Adar
   Attorney for Defendants Khakiware, Inc.       Joshua A. Migdal
   and Healthy Way RX, LLC                       80 S.W. 8th Street
                                                 Suite 1999
   Bretton I Pollack                             Miami, FL 33130
   Pollack, Pollack & Kogan, LLC                 Tel: 305-374-0440
   Courthouse Tower                              yaniv@markmigdal.com
   44 W Flagler Street, Suite 2050               josh@markmigdal.com
   Miami, FL 33130                               eservice@markmigdal.com
   Tel: 305-373-9676                             Attorneys for Jolly Dollar Supply
   Brett.pollack@ppkfirm.com                     Company
   B@birvingpollack.com
   Attorneys for Inspire Now PTY LTD




                                             3
